Case 2:04-cr-20405-BBD Document 29 Filed 05/12/05 Page 1 of 2 PagelD 33

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN DIV|SlON

 

UNl'l`ED STATES OF AlVlER|CA
Plaintiff

VS.
CR. NO. 04-20405-[)

MARANDO BACHUS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

 

This cause was set for a report date on April 19, 2005. Counse| for the defendant
filed a l\/lotion to Continue Report on April 18, 2005 in order to allow for additional

preparation in the case.

The Court granted the motion and reset the trial date to June 6, 2005 with a report

date of Thursdav. Mav19. 2005. at 9:00 a.m., in Courtroom 3. 9th Floor of the Federai
Building, l\/lemphis, TN.

The period from Nlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
ease 2:04-CR-20405 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

